Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 1 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 2 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 3 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 4 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 5 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 6 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 7 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 8 of 54
Case 21-15014-JKS   Doc 1   Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document     Page 9 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 10 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 11 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 12 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 13 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 14 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 15 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 16 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 17 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 18 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 19 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 20 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 21 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 22 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 23 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 24 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 25 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 26 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 27 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 28 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 29 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 30 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 31 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 32 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 33 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 34 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 35 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 36 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 37 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 38 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 39 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 40 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 41 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 42 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 43 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 44 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 45 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 46 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 47 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 48 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 49 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 50 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 51 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 52 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 53 of 54
Case 21-15014-JKS   Doc 1    Filed 06/18/21 Entered 06/18/21 15:14:28   Desc Main
                            Document      Page 54 of 54
